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                              United States District Court
                               Western District of Texas
                                    Austin Division

Fund Texas Choice, et al.,                       §
                                                 §
         Plaintiffs,                             §
                                                 §
v.                                               §
                                                                             No. 1-22-CV-859-RP
                                                 §
Ken Paxton, in his official capacity             §
of Attorney General, et al.                      §
                                                 §
         Defendants.                             §


                                 Defendant’s Exhibit List


TO THE HONORABLE ROBERT PITMAN:

          Defendant Ken Paxton, in his official capacity as Attorney General of Texas, hereby files

this Exhibit List for the hearing on Plaintiffs’ Motion for Preliminary Injunction.

Exhibit                                          Description
     1       TEA Fund (@TEAFund), TWITTER (June 24, 2022, 10:49AM).

     2       “Abortion nonprofits say Texas state Rep. Briscoe Cain defamed them in ‘cease-and-
             desist’ letter,” TEXAS TRIBUNE (March 29, 2022),
             https://www.texastribune.org/2022/03/29/abortion-funds-defamation-briscoe-cain/.
     3       TEA Fund (@TEAFund), TWITTER (Sept. 22, 2022, 11:57AM).

     4       TEA Fund, https://www.northtexasgivingday.org/organization/Texas-Equal-Access-
             Fund-Tea-Fund.
     5       The Afiya Center (@TheAfiyaCenter), TWITTER (Sept. 22, 2022, 9:15AM).

     6       The Afiya Center, https://www.northtexasgivingday.org/organization/The-Afiya-
             Center.
     7       TEAFund (@TEAFund), TWITTER (Sept. 22, 2022, 7:44AM).




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    8    TEA Fund – Communications and Development Associate,
         https://www.idealist.org/en/nonprofit-job/1e5558a0636e4acba2be676e935ad4a7-
         communications-and-development-associate-texas-equal-access-fund-dallas.
    9    TEA Fund (@TEAFund), TWITTER (Sept. 19, 2022, 11:01AM).

   10    TEA Fund (@TEAFund), TWITTER (Sept. 13, 2022, 4:20PM).

   11    TEA Fund (@TEAFund), TWITTER (Sept. 9, 2022, 9:29AM).

   12    TEA Fund Programs Associate job posting, https://www.idealist.org/en/nonprofit-
         job/e6550d618fe44c9ea9fd01cec1d03877-programs-associate-texas-equal-access-fund-
         dallas
   13    TEA Fund (@TEAFund), TWITTER (Sept. 8, 2022, 12:56PM).

   14    TEA Fund (@TEAFund), TWITTER (Sept. 1, 2022, 10:58AM).

   15    Frontera Fund (@LaFronteraFund), TWITTER (Sept. 1, 2022, 10:58AM).

   16    TEA Fund (@teafund), INSTAGRAM (Aug. 22, 2022).

   17    TEA Fund (@teafund), INSTAGRAM (Sept. 2, 2022).

   18    TEA Fund (@teafund), INSTAGRAM (Sept. 3, 2022).

   19    TEA Fund (@teafund), INSTAGRAM (Sept. 7, 2022).

   20    Lilith Fund (@lilithfund), INSTAGRAM (July 5, 2022).

   21    TEA Fund (@teafund), TWITTER (Aug. 22, 2022, 4:28PM).

   22    Jane’s Due Process (@JanesDueProcess), TWITTER, Pinned Tweet.

   23    Jane’s Due Process (@JanesDueProcess), TWITTER (July 5, 2022, 11:06AM).

   24    Jane’s Due Process (@JanesDueProcess), TWITTER (July 13, 2022, 9:04AM).

   25    TEA Fund (@teafund), TWITTER (Sept. 8, 2022, 5:00PM).

   26    TEA Fund (@TEAFund), TWITTER (Aug. 18, 2022, 11:10AM).

   27    Lilith Fund (@lilithfund), INSTAGRAM (Sept. 22, 2022).

   28    Legislate This – Benefit for the Lilith Fund, https://www.eventbrite.com/e/legislate-
         this-benefit-for-the-lilith-fund-tickets-405391335397.
   29    Lilith Fund – Hype Squad, https://www.lilithfund.org/hypesquad.




Defendant’s Exhibit List                                                                         2
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   30     Frontera Fund (@fronterafundrgv), INSTAGRAM, (Aug. 10, 2022).

   31     The Afiya Center, (@TheAfiyaCenter), TWITTER (Sept. 15, 2022, 5:27PM).

   32     Fund Texas Choice, (@FundTexasChoice), TWITTER (Sept. 15, 2022, 10:47AM).

   33     Fund Texas Choice, (@FundTexasChoice), TWITTER (Aug. 24, 2022, 11:12AM).

   34     Fund Texas Choice, (@FundTexasChoice), TWITTER (Aug. 25, 2022, 12:32PM).

   35     Frontera Fund, (@LaFronteraFund), TWITTER (Sept. 10, 2022, 10:11AM).

   36     Frontera Fund, (@LaFronteraFund), TWITTER (Sept. 9, 2022, 3:25PM).

   37     Frontera Fund, (@LaFronteraFund), TWITTER (Aug. 27, 2022, 3:26PM).

   38     Frontera Fund, (@LaFronteraFund), TWITTER (Aug. 22, 2022, 4:28PM).

   39     Lilith Fund, https://www.lilithfund.org/portfolio/need-help/.

   40     Lilith Fund (@lilithfund), TWITTER (Sept. 1, 2022, 3:54PM).

   41     Lilith Fund (@lilithfund), TWITTER (Aug. 7, 2022, 9:50AM).

   42     Lilith Fund (@lilithfund), TWITTER (July 31, 2022, 9:32AM).

   43     Ghazaleh Moayedi, (@dr_moayedi), TWITTER (June 27, 2022, 2:50PM).

   44     Ghazaleh Moyaedi, (@dr_moayedi), TWITTER (June 27, 2022, 7:59AM).

   45     Ghazaleh Moayedi, (@dr_moayedi), TWITTER (June 22, 2022, 7:34PM).

   46     Ghazaleh Moayedi, (@dr_moayedi), TWITTER (Sept. 13, 2022, 9:32AM).

   47     Jezebel, “Abortion Providers Would Like You to Please Stop Interviewing Anti-
          Abortion Propagandists,” (Aug. 15, 2022), https://jezebel.com/abortion-providers-
          would-like-you-to-please-stop-interv-1849407091.
   48     Rosann Mariappuram (@ReproRose), TWITTER (Aug. 10, 2022, 11:01AM).

   49     Frontera Fund (@lafronterafund), TWITTER (Sept. 13, 2022, 1:25PM).


        Defendant also designates as potential exhibits any item on Plaintiff’s exhibit list and

reserves the right to use any other document not identified for the purposes of impeachment.




Defendant’s Exhibit List                                                                           3
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                                     Respectfully submitted.

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Defendant’s Exhibit List                                                            4
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                                Certificate of Service

I hereby certify that on September 26, 2022, a true and correct copy of the foregoing document
was served via the Court’s ECF system to all counsel of record.

                                            /s/ William D. Wassdorf
                                            WILLIAM D. WASSDORF
                                            Assistant Attorney General




Defendant’s Exhibit List                                                                         5
